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 8
 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DISTRICT
11
12    Angela Isley-Price,                    Case No. 2:18-cv-00586
13
                               Plaintiff,
14                                           NOTICE OF SETTLEMENT
         v.
15
   Westlake Financial Services
16
   LLC, a California Limited
17 Liability Company; and DOES
18
   1-10, inclusive,
                       Defendants.
19
20
21
              Plaintiff hereby informs the Court that this matter has settled, and she anticipate
22
     finalizing the settlement agreement within 60 days.
23
24 DATED: December 28, 2018                          HUSSIN LAW
25
26
                                                     By: /s/Tammy Hussin
27                                                   Tammy Hussin, Esq.
28                                                   Attorney for Plaintiff, Angela Isley-Price
